                 Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 1 of 13

                                                                                           567S
                             IN THE UNITED STATES DISTRICT COURT                                      /0

                               FOR THE DISTRICT OF PUERTO RICO
                                                                                   i^c^W^
                                                                                     ^RECEIVED & Filt:^


                                                                                        MAY 2 ) 2019 s
       UNITED STATES OF AMERICA,
       Plaintiff,                                                                     usoD'STRiCT COURT <?
                                                                                    ^ SAW'J'UANUpuRURT^
                                                        CRIMINAL NO. 18-422 (FAB^
                              V.
                                                                                         ^ « 7 89 ^



       JULIO CESAR MENENDEZ-ATILANO,
       Defendant.




                              PLEA AND FORFEITURE AGREEMENT
                               (Pursuant to Fed. R. Crim. P. ll(c)(l)(B))

     TO THE HONORABLE COURT:

            COMES NOW, the United States of America, by and through its attorneys for the District

     of Puerto Rico: Rosa Emilia Rodriguez-Velez, United States Attorney, Timothy Henwood, First



^    Assistant United States Attorney, Jenifer Y. Hernandez-Vega, Assistant United States Attorney


     and Deputy Chief, Violent Crimes and RICO Unit, and David T. Henek, Assistant United States

^^   Attorney, along with Defendant, JULIO CESAR MENENDEZ-ATILANO, and his counsel,

     Edwin A. Mora-Rolland, and, pursuant to Federal Rule of Criminal Procedure 1 l(c)(l)(B), state

     to this Honorable Court that they have reached a Plea and Forfeiture Agreement, the terms and


     conditions of which are as follows:


            1.       COUNTS TO WHICH DEFENDANT PLEADS GUILTY

            Defendant agrees to plead guilty to Counts One and Two.
                Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 2 of 13



      Plea and Forfeiture Agreement US v. JULIO CESAR MENENDEZ-AT1LANO, 1 8-422 (FAB)


      Count One:


             On or about June 26, 2018, in the United States, in the District of Puerto Rico and within

      the jurisdiction of this Court, JULIO CESAR MENENDEZ-ATILANO, the defendant herein,

      did knowingly possess a firearm, that is, one (1) Ruger pistol, model P345, .45 caliber, serial


      number 66420371, in furtherance of a drug trafficking crime for which he may be prosecuted in a

      Court of the United States, that is possession with intent to distribute a controlled substance in


      violation of 21 U.S.C. § 841(a)(l). All in violation of 18 U.S.C. § 924(c)(l)(A)(i).

      Count Two:


             On or about June 26, 2018, in the United States, in the District of Puerto Rico and within

      the jurisdiction of this Court, JULIO CESAR MENENDEZ-ATILANO, the defendant herein,
it\

^
      did knowingly and intentionally possess with intent to distribute a mixture or substance containing

      a detectable amount of cocaine, a Schedule II controlled substance. All in violation of 21 U.S.C.


      }§841(a)(l)and841(b)(l)(C).

             2. MAXIMUM PENALTIES

             Count One: 924(c): The maximum statutory penalty for the offense charged in Count One

      of the Indictment is a term of imprisonment of not less than five (5) years and up to life in prison,

      pursuant to Title 18, United States Code, Section 924 (c)(l); a fine not to exceed two hundred and

      fifty thousand dollars ($250,000.00), pursuant to Title 18, United States Code, Section 3571(b)(3);

      a supervised release term of not more than five (5) years, pursuant to Title 18, United States Code,


      Section 3583(b)(l); and a Special Monetary Assessment of one hundred dollars ($100.00),
               Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 3 of 13



     Plea and Forfeiture Agreement US v, JULIO CESAR MENENDEZ-ATILANO, 1 8-422 (FAB)


     pursuant to 18, United States Code, Section 3013(a)(2)(A).

             Count Two: 841(a)(l) and (b)(l)(C)-Cocaine: The maximum statutory penalty for the

     offense charged in Count Two of the Indictment, is a term of imprisonment of not more than twenty


     (20) years; a fine not to exceed one million dollars ($1,000,000.00); a supervised release term of

     at least three (3) years, all pursuant to 21, United States Code, Section 841 (b)( I )(C); and a Special

     Monetary Assessment of one hundred dollars ($100.00), pursuant to 18, United States Code,


     Section 3013(a)(2)(A).

            3. SENTENCING GUIDELINES APPLICABILITY

            Defendant understands that the sentence will be left entirely to the sound discretion of the


     Court in accordance with Title 18, United States Code, Sections 3551-3586, and the United States

^    Sentencing Guidelines (hereinafter "Guidelines"), which have been rendered advisory by the
^f
     United States Supreme Court decision in United States v. Booker, 543 U.S. 220 (2005). Further,


     Defendant acknowledges that parole has been abolished and that the imposition of his sentence

     may not be suspended.


            4. SPECIAL MONETARY ASSESSMENT

            Defendant agrees to pay a special monetary assessment of one hundred dollars ($100.00),


     per count of conviction, to be deposited in the Crime Victim Fund, pursuant to Title 18, United


     States Code, Section 3013(a)(2)(A).
                Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 4 of 13



      Plea and Forfeiture Agreement US v. JUL10 CESAR MENENDEZ-ATILANO, 18-422 (FAB)


             5. FINES AND RESTITUTION

             Defendant is aware that the Court may, pursuant to U.S.S.G. Section 5E1.2, order him to


      pay a fine sufficient to reimburse the government for the costs of any imprisonment, probation, or


      supervised release ordered. The Court may also impose restitution. The United States will make


      no recommendations as to the imposition of fines and restitution.


             6. RULE ll(c)(l)(B) WARNINGS

             Defendant is aware that his sentence is within the sound discretion of the sentencing judge


      and of the advisory nature of the Guidelines, including the Guidelines Policy Statements,


      Application, and Backsround Notes. Further, Defendant understands and acknowledges that the


      Court is not a party to this Plea and Forfeiture Agreement and thus, is not bound by this agreement

,t^
      or the sentencing calculations and recommendations contained. Defendant


      acknowledges that the Court has jurisdiction and authority to impose any sentence within the

      statutory maximum set for the offense to which Defendant is pleading guilty. Defendant is aware


      that the Court may accept or reject the Plea and Forfeiture Agreement, or may defer its decision


      whether to accept or reject the Plea and Forfeiture Agreement until it has considered the pre-


      sentence investigation report. See Fed. R. Crim. P. ll(c)(3)(A). Should the Court impose a


      sentence up to the maximum established by statute, Defendant cannot, for that reason alone,


      withdraw his guilty plea, and will remain bound to fulfill all of the obligations under this Plea and

      Forfeiture Agreement. See Fed. R. Grim. P. 1 l(c)(3)(B).
                    Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 5 of 13



        Plea and Forfeiture Agreement US v. JUL10 CESAR MENENDRZ-AT1LANO, 1 8-422 (FAB)


                 7. APPLICABILITY OF UNITED STATES SENTENCING GUIDELINES

                 Defendant is aware that pursuant to the decision issued by the Supreme Court of the United


        States in United States v. Booker, 543 U.S. 220 (2005), the Guidelines are no longer mandatory


        and must be considered effectively advisory. Therefore, after due consideration of the relevant


        factors enumerated in Title 18, United States Code, Section 3553(a), the United States and

        Defendant submit the following advisory Guidelines calculations:

                                                          COUNT ONE:

                                                    18 U.S.C. § 924(c)(l)(A)

                                                                                              60 months
         A minimum consecutive term of imprisonment of sixty                         (to run consecutively to the
                                                                                        sentence imposed for
         (60) months is mandatory, with a maximum of life
                                                                                             Count Two)
 ft\
                                                          COUNT TWO:
^ )AN
                                  SENTENCING GUffiELINES CALCULATIONS
                                                     21 U.S.C. §§ 841(a)(l)
         Base Offense Level
         [§§2DU(a)(5) & 2Dl.l(c)(10)j: Parties stipulate that defendant is responsible
         for possessing with the intent to distribute less than 50 grams of cocaine
                                                                                                             12
         Adjustment
         [§ 3E1 ,l(a)]: Defendant timely accepted responsibility and offense level
                                                                                                             -2

         TOTAL ADJUSTED OFFENSE LEVEL
                                                                                                            10
         C.H. Categoiy I   C.H. Category II   C.H. Category III   C,H. Category IV     C.H. Category V   C.H. Category VI

         6-12 months       8-14 months        10-16 months        15-21 months         21-27 months      24-30 months
                    Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 6 of 13



       Plea and Forfeiture Agreement US v. JULIO CESAR MENENDEZ-ATILANO, 18-422 (FAB)


                  8. SENTENCE RECOMMENDATION

                  After due consideration of the relevant factors enumerated in Title 1 8, United States Code,


       Section 3553(a), the parties agree that for Count One, the parties will recommend a sentence of

       imprisonment of sixty (60) months to run consecutive to the term of imprisonment in Count Two.


       For Count Two, the United States may request a sentence at the higher end, while Defendant may


       request a sentence equal to the lower end, of the applicable guideline range at a total adjusted


       offense level often (10) when combined with Defendant's criminal history category as determined

       by the Court.


                  The parties agree that any recommendation by either party for a term of imprisonment


       below or above the stipulated sentence recommendation constitutes a material breach of the Plea


^ ^ and Forfeiture Agreement.


"5 ^ ^ 9. NO STIPULATION AS TO CRIMINAL HISTORY CATEGORY

                  The parties do not stipulate as to any Criminal History Category for Defendant.


                  10. WAIVER OF APPEAL

                  The defendant knowingly and voluntarily agrees that, if the imprisonment sentence

       imposed by the Court is seventy-six (76) months or less, the defendant waives the right to appeal

       any aspect of this case's judgment and sentence, including but not limited to the term of


       imprisonment or probation, restitution, fines, forfeiture, and the term and conditions of supervised


       release.
               Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 7 of 13



     Plea and Forfeiture Agreement US v. JULIO CESAR MENENDEZ-ATILANO, 18-422 (FAB)


             11. NO FURTHER ADJUSTMENTS OR DEPARTURES

             The United States and Defendant agree that no further adjustments or departures to


     Defendant's total adjusted base offense level and no variance sentence under Title 18, United


     States Code, Section 3553 shall be sought by Defendant. The parties agree that any request by

     Defendant for an adjustment or departure will be considered a material breach of this Plea and


     Forfeiture Agreement, and the United States will be free to ask for any sentence, either guideline


     or statutory.


             12. SATISFACTION WITH COUNSEL

             Defendant represents to the Court that he is satisfied with counsel, Edwin A Mora-Rolland,


     and asserts that counsel has rendered effective legal assistance.


^ ^ 13. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA

 ^\
J) J Defendant understands that by entering into this Plea and Forfeiture Agreement he

     surrenders certain rights as provided in this agreement. Defendant understands that the rights of


     criminal Defendants include the following:

                 a. If Defendant had persisted in a plea of not guilty to the charges. Defendant would
                     have had the right to a speedy jury trial with the assistance of counsel. The trial may
                     be conducted by a judge sitting without a jury if Defendant, the United States and
                     the judge agree.


                 b. If a jury trial is conducted, the jury would be composed of twelve lay persons
                     selected at random. Defendant and Defendant's attorney would assist in selecting
                     the jurors by removing prospective jurors for cause where actual bias or other
                     disqualification is shown, or by removing prospective jurors without cause by
                     exercising peremptory challenges. The jury would have to agree, unanimously,
                     before it could return a verdict of either guilty or not guilty. The jury would be
                     instructed that Defendant is presumed innocent, that it could not convict Defendant
          Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 8 of 13



Plea and Forfeiture Agreement US v. JULIO CESAR MCNLNUEZ-AT1LANO, 18-422 (FAB)


                unless, after hearing all the evidence, it was persuaded of Defendant's guilt beyond
                a reasonable doubt, and that it was to consider each charge separately.


            c. If a trial is held by the judge without ajury, the judge would find the facts and, after
                hearing all the evidence and considering each count separately, determine whether
                or not the evidence established Defendant s guilt beyond a reasonable doubt.


            d. At a trial, the United States would be required to present its witnesses and other
                evidence against Defendant. Defendant would be able to confront those witnesses
                and Defendant s attorney would be able to cross-examine them. In turn, Defendant
                could present witnesses and other evidence on Defendant's own behalf. If the
                witnesses for Defendant would not appear voluntarily, Defendant could require
                their attendance through the subpoena power of the Court.


            e. At a trial, Defendant could rely on the privilege against self-incrimination to decline
               to testify, and no inference of guilt could be drawn from Defendant's refusal to
               testify. If Defendant desired to do so. Defendant could testify on Defendant's own
               behalf.



^
        14. STIPULATION OF FACTS

       The accompanying Stipulation of Facts signed by Defendant is hereby incorporated into

this Plea and Forfeiture Agreement. Defendant adopts the Stipulation of Facts and agrees that the

facts therein are accurate in every respect and, had the matter proceeded to trial, that the United


States would have proven those facts beyond a reasonable doubt.


        15. FIREARMS FORFEITURE

       Pursuant to Title 18, United States Code, Section 924fd) and Title 28. United States Code,

Section 246 l(c), the defendant agrees to forfeit all of his right, title, and interest in the following

property (hereafter, collectively, the "Property") that is, one (1) Ruger pistol, model P345, .45

caliber, serial number 66420371, and eight (8) rounds of .45 caliber ammunition. All pursuant to

18 U.S.C. § 924(d)(l) and 28 U.S.C. § 2461(c). Defendant acknowledges that he possessed the
                     Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 9 of 13



        Plea and Forfeiture Agreement US v. JULIO CESAR MENENDEZ-ATILANO, 1 8-422 (FAB)


        Property in violation of Title 18, United States Code, Section 924(c), and that the Property is

        therefore subject to forfeiture to the United States.


                   16. LIMITATIONS OF PLEA AND FORFEITURE AGREEMENT

                   This Plea and Forfeiture Agreement binds only the United States Attorney's Office for the

        District of Puerto Rico and Defendant. It does not bind any other federal district, state, or local


        authorities.


                   17. ENTIRETY OF PLEA AND FORFEITURE AGREEMENT

                   This written agreement constitutes the complete Plea and Forfeiture Agreement between


^ ^^A the United States, Defendant, and Defendant's counsel. The United States has made no promises
c
        or representations except as set forth in writing in this Plea and Forfeiture Agreement and denies


        the existence of any other term and conditions not stated herein.


                   18. AMENDMENTS TO PLEA AND FORFEITURE AGREEMENT

                   No other promises, terms or conditions will be entered unless in writing and signed by all


        parties.


                   19. DISMISSAL OF REMAINING COUNTS

                   At sentencing, should the Defendant comply with the terms of this Plea and Forfeiture

        Agreement) the Government will move to dismiss the remaining Counts charged in the Indictment.
            Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 10 of 13



Plea and Forfeiture Agreement                            US v. JULIO CESAR MENENDEZ-A'I'ILANO, 18-422 (FAB)


          20. VOLUNTARINESS OF GUILTY PLEA

          Defendant acknowledges that no threats have been made against him and that he is pleading

guilty freely and voluntarily because he is guilty.

ROSA EMILIA RODRIGUEZ-VELEZ
United States Atton



Timothy Hen^ood                                        Edwin A. Mora-Rolland
Assistant U.S. Attorney                                Counsel for Defendant
Chief, Criminal Division
Dated: ^-/Wf                                           Dated .   ^\^l\c\

                                                        A,L ^
Jenii^r Y. Hern^nc^ez-Vega                             ^dlio Cesar I^enendez-Atilano
Assistant U.S. A^tor^iey                               Defendant
Deput} Chief, Violent Crimes anS-R-I^O Unit            DateT"" ^ 1^'fl ^
Dated: \\\^\^0\c\
                      c.

David T. Henek
Assistant;u.;
          US/ Attorney
       "r/zjn
Dated: J,




                                                  10
         Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 11 of 13



                               UNDERSTANDING OF RIGHTS

   I have consulted with my counsel and fully understand all of my rights with respect to the

Indictment pending against me. Further, I have consulted with my attorney and fully understand


my rights with respect to the provisions of the Sentencing Guidelines, Policy Statements,

Application, and Background Notes which may apply in my case. I have read this Plea and

Forfeiture Agreement and carefully reviewed eveiy part of it with my attorney. My counsel has


translated the plea agreement to me in the Spanish language and I have no doubts as to the contents


of the agreement. I fully understand this agreement and voluntarily agree to it.


Date:      ?/zi/)^ ,4.L n
                                                      fulio Cesar Menendez-Afilano
                                                     Defendant

   I am the attorney for Defendant. I have fully explained Defendant's rights to Defendant with

respect to the pending Indictment. Further, I have reviewed the provisions of the Sentencing


Guidelines, Policy Statements, Application, and Background Notes, and I have fully explained to


Defendant the provisions of those guidelines which may apply in this case. I have carefully

reviewed every part of this Plea and Forfeiture Agreement with Defendant. I have translated the


plea agreement and explained it in the Spanish language to the defendant who has expressed having

no doubts as to the contents of the agreement. To my knowledge, Defendant is entering into this


Plea and Forfeiture Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant's plea of guilty.


Date: °s(l-^
                                                     Edwin A. Mora-Rolland
                                                     Counsel for Defendant




                                                11
               Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 12 of 13



                                        STIPULATION OF FACTS
              In conjunction with the submission of the accompanying Plea Agreement in this case, the


      United States of America and Defendant, Julio Cesar Menendez-AtiIano, agree that the


      following recitals provide a true and accurate summary of the facts leading to Defendant's


      acceptance of criminal responsibility for violation of Title 18, United States Code, Section 924(c)

      and 21, United States Code, Sections 841(a)(l). The following is a synopsis of the facts in this

      case:


              On June 26, 2018, Puerto Rico Police Department (PRPD) Agents, assigned to the

      Guayama Special Arrest Unit, executed a state search warrant at La Carmen Ward, Victor Mateo


      Street, residence number 152, in Salinas, Puerto Rico. During the execution of the search warrant,


      PRPD seized six (6) clear plastic vials containing marijuana, as well as paraphernalia, including

      plastic haggles. Menendez-Atilano claimed ownership of the marihuana and gave officers consent
(.^
      to search a vehicle parked in the curtilage of the property. Menendez-Atilano also told agents that


      there was a firearm inside the vehicle. From the vehicle, agents seized one (1) Ruger pistol, model


      P345, .45 caliber, serial number 664203 71, loaded with eight (8) rounds of .45 caliber ammunition,

      as well as fourteen (14) yellow baggies of cocaine. During a Mirandized interview, Menendez-


      Atilano claimed ownership over the firearm and drugs seized.


              By pleading guilty, Menendez-Atilano acknowledges that he knowingly and intentionally

      possessed less than fifty (50) grams of cocaine for distribution purposes and that the firearm he

      possessed was in furtherance of a drug trafficking crime.


              At trial, the United States would have proven beyond a reasonable doubt that Defendant is

      guilty as charged in Counts One and Two of the Indictment. This would have been proven through


      physical and documentary evidence, including, but not limited to, live testimony ofPRPD agents,



                                                      12
         Case 3:18-cr-00422-FAB Document 42 Filed 05/21/19 Page 13 of 13



evidence recovered at the scene, photographs, documents, and other physical evidence.


       Discovery was timely made available to Defendant for review.




David T. Henek                                     Edwin A. Mora
Assistant Ij£i;ted/States Attorney                 Counsel for Qefen^ant
Dated: ^Ai /1/)                                    Dated: <|"U| I <\




                                                            2L
                                                   Fulio Cesa     enendez-Atilano


                                                              ^l/^
                                                   Defendant
                                                   Dated:




                                              13
